           CASE 0:20-cv-02536-MJD-LIB Doc. 11 Filed 06/22/21 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


Julie Lawrence,                                 Case No. 20-cv-02536 (MJD/LIB)

               Plaintiff,
                                                 ORDER FOR DISMISSAL
vs.

Clow Stamping Company,
a domestic corporation,

               Defendant.


         The foregoing Stipulation of Dismissal with Prejudice, having been presented to

the Court on behalf of the above parties,

         IT IS HEREBY ORDERED that the above-entitled action be, and the same hereby

is, dismissed with prejudice and on its merits and without costs or disbursements to any

party.

         LET JUDGMENT BE ENTERED ACCORDINGLY.

                                            BY THE COURT

Dated: June 22, 2021                        s/Michael J. Davis
                                            Judge Michael J. Davis
                                            United States District Court
